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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                          X


UNITED STATES OF AMERICA

          -V,   -                                             NOLLE PROSEQUI

RICHARD LEE,                                                  13 Cr. 539 (PGG)

                     Defendant.

                     -   -   -   -   -   -    -   -   -   X


          1.        The filing of this nolle prosequi will dispose of

this case against RICHARD LEE, the defendant.

          2.        On July 23,              2013, RICHARD LEE, the defendant,

waived indictment and Information 13 Cr. 539                       (PGG)   (the

"Information") was filed, which charged LEE with conspiring to

commit securities fraud, in violation of Title 18, United States

Code, Section 371 (Count One) and committing securities fraud,

in violation of Title 15, United States Code, Sections 78j (b)

and 78ff, Title 17, Code of Federal Regulations, Section

240.10b-5 and Section 240.10b5-2, and Title 18, United States

Code, Section 2      (Count Two) .

          3.        On July 23, 2013, RICHARD LEE,                  the defendant,

pleaded guilty to Counts One and Two of the Information pursuant

to a cooperation plea agreement with the Government.                           In that

proceeding, LEE admitted, among other things, that "[o]n a


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number of occasions, I traded while in possession of material

nonpublic information that I had received from others under

circumstances where I knew, or had reason to believe, other

persons had breached a fiduciary duty or a duty of

confidentiality."    (July 23, 2013 Plea Tr. at 21).    The three

trades referenced in the Information and in Lee's guilty plea

allocution all occurred in 2009.

          4.    On December 10, 2014, the United States Court of

Appeals for the Second Circuit decided United States v. Newman,

773 F.3d 438, 450-51 (2d Cir. 2014), abrogated on other grounds

by Salman v.   United States, 137 S. Ct. 420   (2016), which held,

as relevant here, that a tippee who traded on material non-

public information must have knowledge that the insider acted

for personal benefit in disclosing the information.

          5.    On September 15, 2017, more than four years after

his guilty plea was entered and eight years after the trades at

issue, RICHARD LEE, the defendant, moved to withdraw his guilty

plea on the grounds .that (1) he was innocent;    (2) had he known

additional information, he would not have pleaded guilty; and

(3) his guilty plea was insufficient in light of Newman.

          6.   On Jurie 21, 2019, the Court granted Lee's motion

to withdraw his guilty plea.    The Court rejected LEE's first and


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second claims but concluded that "given developments in insider

trading law since Lee's plea was taken in 2013[,] his guilty

plea is insufficient."         United States v.    Lee,   No. 13-CR-539

(PGG) Dkt. 78, at 1 (S.D.N.Y. June 21, 2019).                In so doing,        the

Court acknowledged that "granting Lee's motion would cause

significant unfair prejudice to the Government."                  Id.   at 19.

The Court explained that because of the age of the trades, among

other factors,        "the Government may well encounter difficulty in

securing evidence that would have been more accessible years

ago."     Id.    at 18-19.

                7.   On or about July 25,     2013, the United States

Securities and Exchange Commission (the "SEC")              filed a complaint

against RICHARD LEE; the defendant, related to the conduct at

issue in this case.          SEC   v. Lee, 13-CV-05185    (RMB)    (S.D.N. Y.).

On September 12, 2013, the Court in that matter entered a

judgment against LEE, on consent, enjoining him from future

violations of the securities laws.             The judgment further ordered

LEE to pay disgorgement, prejudgment interest thereon, and a

civil penalty upon motion by the SEC.             Additionally, on or about

October 8, 2013, the SEC barred LEE from associating with any

broker, dealer,        investment adviser, municipal securities dealer,

municipal adviser, transfer agent, or nationally recognized


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statistical ratings agency.     On or about November 6, 2019, the

SEC, with the consent of LEE, requested that the Court in the

civil matter enter a final judgment against LEE, enjoining him

from future violations of the securities laws and ordering him

to pay disgorgement.of $130,144.91, prejudgment interest of

$57,777.23, and a civil penalty of $130,144.91.

          8.   Given all of the circumstances, including (1)         the

amount of time that 'has passed since the trades at issue and the

resulting difficulty in securing evidence related to elements of

the charged offenses; and (2)    the SEC's judgment and bar against

LEE, the Government has determined that it is in the public

interest to dismiss the charges pending against LEE.

          9.    Accordingly, the Government recommends that an

order of nolle prosequi be filed as to RICHARD LEE, the

defendant, in the above-captioned matter.




                                 Drew sinner
                                 Daniel Tracer
                                 Assistant United States Attorneys
                                 Tel.: (212) 637-1587/-2329


Dated:    New York, New York
          November _(7, 2019




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          Upon the foregoing recomm endation,   I hereby direct,

with leave of the Court,   that an order of nolle prosequi be

filed as to RICHARD LEE, the defendant, with respect to

Information 13 Cr. 539 (PGG).




                                United States Attorney
                                Southern District of New York

Dated:    New York, New York
          November 6, 2019



SO ORDERED:



                                United States District Judge
                                Southern District of New York


Dated:    New York, New York
          November 7, 2019




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